1. The bill of exceptions, in which error is assigned on the order of the court disallowing an amendment to the petition, on the direction of a verdict, and on the order overruling a motion for new trial, is not subject to dismissal for failure to comply with the requirements of the Code, § 6-804.
2. By virtue of the Code, § 49-301, a ward, after reaching majority, may apply to the ordinary for an order requiring his guardian to appear and submit to a settlement of the accounts of the ward's estate.
3. The approval by the ordinary of the annual returns of a guardian is prima facie evidence only of the correctness and legality thereof, and in a proper proceeding after reaching majority a ward may attack such returns.
4. An action against a guardian growing out of his failure to settle with his ward may be instituted by the ward, pursuant to the Code, § 3-709, within ten years after the accrual of the right thereto. *Page 577 
5. An amendment to a petition filed by a ward against her mother, as guardian, for a settlement and accounting, in which the ward attacks the legality and correctness of the returns of the guardian, specifying in such amendment with definiteness the grounds on which the ward questions the legality and correctness of the returns and the particular items of expenditures and vouchers attacked, was proper, and was not subject to the grounds of general and special demurrer urged by the guardian.
         DECIDED JULY 16, 1941. REHEARING DENIED JULY 30, 1941.
On May 7, 1923, Mrs. Annie L. Bell, now Williams, was appointed guardian of the person and property of her seven minor children, one of whom is Mrs. Robert L. Pettigrew, formerly Margaret Ethel Bell. Mrs. Pettigrew was born March 2, 1911, and reached her majority on March 2, 1932. On April 2, 1924, when Mrs. Pettigrew was thirteen years of age the guardian had on hand as the property of her children and wards the sum of $13,014.57. The guardian has never accounted to nor settled with Mrs. Pettigrew for her part of this money. On July 2, 1940 (eight years and four months after she had attained her majority), Mrs. Pettigrew filed in the court of ordinary of Thomas County a petition in which the foregoing facts were alleged. She prayed for an order requiring the guardian to appear and submit to a settlement with petitioner of her account as such guardian and for the issuance and service of citation. Citation issued requiring Mrs. Williams to be at the August term, 1940, of the court of ordinary to render an accounting and settlement of her accounts as guardian for the petitioner. Service of the petition and citation was acknowledged by Mrs. Williams.
On September 3, 1940, the guardian, for answer to the petition and citation, alleged that she had had exhibited to her on that date the three annual returns of herself as such guardian, which had been filed in such court of ordinary, "reference to which is made," which returns were self-explanatory as to the handling of the estate, and which were signed by respondent, "who acknowledges receipt of the money and disbursements of the same in accordance with said returns;" that "respondent adopts said returns as her answer to this rule and makes this answer to each of the petitions filed in said case;" and "respondent shows that by her said returns *Page 578 
she has on hand $313.52, which is subject to further administration and to the direction of this court." Thereupon Mrs. Pettigrew offered an amendment to the petition for settlement and accounting in which she alleged that the respondent as such guardian, on or about August 15, 1923, received $13,000 or more belonging to her wards in equal shares, and petitioner is entitled to a settlement from the guardian for one seventh of this sum with interest from that date. She further alleged that the guardian had filed three purported annual returns relatively to the estate of her wards, in which it was represented that all of the money received for them was spent on the wards, except about $300, and that each of said returns was void and of no effect. Mrs. Pettigrew alleged that the return for the period beginning May 7, 1923, and ending June 30, 1924, is void, because (1) the money therein claimed to have been spent for maintenance and education of petitioner was not in fact so spent; (2) the return is not accompanied by any valid vouchers showing expenditures made for the maintenance and support of petitioner; (3) the alleged vouchers accompanying this return, which appear to be made as receipts to the guardian and signed by the guardian, constitute no evidence to show such expenditures; (4) the return was not filed until June, 1926, which was two years after the period alleged to be shown therein, at which time it appears that all vouchers for maintenance and education of the petition were made by the guardian as receipts to herself, without any original account or record of such expenditures to authorize or support same; (5) it appears that the estate and accounts of petitioner were mingled with the estates and accounts of the other wards, and that no separate account was ever kept for the petitioner; (6) the return purports to show that a part of the corpus of the estate of the petitioner was spent for her maintenance and education without previous authority from the ordinary for any such expenditures, which is contrary to the law of this State; (7) there was never any order passed by the ordinary approving the return and admitting it to record, it being recorded in annual return book JJ, pp. 154 to 157, with a typewritten order thereon which has never been signed or approved by the ordinary; and (8) the return was false and fraudulent and constitutes a fraud against the ordinary and against petitioner. The returns for the periods from July 1, 1924, to December 31, 1925, and from *Page 579 
January 1, 1926, to December 30, 1926, were attacked in such proffered amendment as being void on similar grounds.
The petitioner further attacked the record of the return for the period from May 7, 1923, to June 30, 1924, as appearing in such annual return book, as not being a true and correct record of the original return, because the record shows an order approving the return and admitting it to record, when in fact the original of such return and original papers of file in the matter do not show any such order and do not show that any order was ever passed by the ordinary for the approval of the return. It is alleged that the record of such returns is typewritten, the order on the record is typewritten, and the name of Hon. Wm. M. Jones, ordinary, on the record, is typewritten, and there is no actual signature of the ordinary on the original return, nor on any order in the original file for the approval of the return, nor on the record thereof; that such erroneous record of the return and order should be disapproved as erroneous so that no exemplified copy of such record may ever be used "at any time anywhere," and that any such exemplified copy would show the order with the signature of the ordinary thereof and would not be true and correct. On the same grounds and for the same reasons petitioner attacked the return covering the period from July 1, 1924, to December 31, 1925. The ordinary refused to allow this amendment. The petitioner, on September 5, 1940, appealed from this judgment to the superior court of Thomas County. The case came on for trial before a jury in that court on October 22, 1940, and petitioner offered the foregoing amendment which had been tendered in the ordinary's court and disallowed therein, and at the same time offered another amendment to the original petition or application.
In this latter amendment petitioner alleged that in the return from May 7, 1923, to June 30, 1924, the items shown as vouchers 1 and 8, charged against petitioner's estate, are erroneous, fraudulent, and void, and are improperly charged and admitted to record against her, because (a) the sums therein represented were not spent for petitioner's board, laundry, clothing, schooling, education, maintenance, and support; (b) the alleged vouchers accompanying the return appear to be nothing more than receipts made by the guardian to herself, without any original bills or invoices for any expenditures, and such receipts constitute no evidence as *Page 580 
vouchers and no evidence to show any proper and legal charge against the estate of petitioner; (c) as to such items the return is not accompanied by any valid voucher showing any legitimate expenditure of such amounts, or any part thereof, except out of the estate of petitioner; (d) the petitioner lived at home with her mother, and there were no actual charges made against her for the items represented in such receipts, and there was no actual expenditure made out of the estate of this applicant for such items, and there were no such amounts spent by the guardian for the benefit of petitioner; (e) such receipts and returns were made up to conceal that the money thereon represented had been lost or wasted in some other manner, unknown to petitioner, and same constituted a fraud on the court of ordinary and against the petitioner. The petitioner further alleged that in the second return the item shown as voucher 16, charged against petitioner's estate, is erroneous, fraudulent, and void, and is improperly charged and admitted to record against petitioner for the reasons set out above as to vouchers 1 and 8 in the first return, and that in the third return voucher 17 is void and improperly charged against petitioner for the same reasons above set forth in the amendment as to vouchers 1 and 8 in the first return; that she obtained her first knowledge that such returns were of file in the court of ordinary on or about June 15, 1940; that she had been told by the guardian and the guardian's attorney that no settlement could be made with her until her youngest brother and sister, who were also wards of the guardian and who are not yet of age, became of age, and petitioner was thereby induced to make no investigation and take no action seeking a settlement with the guardian. The guardian filed certain demurrers and objections to the allowance by the court of the amendments, and alleged that they failed to set forth any cause of action or to show wherein the returns were illegal or unlawful, or that the guardian had wasted or mismanaged or was wasting or mismanaging petitioner's estate; that it appears affirmatively therefrom that the petitioner has not shown due and proper diligence in attacking the returns of her mother as guardian, and is barred by the statute of limitations and by her laches and neglect; that "there is no allegation that the court of ordinary and the Honorable W. M. Jones, judge thereof, did not have before it satisfactory proof that the amounts charged against plaintiff by her mother as guardian for *Page 581 
her schooling, education, and support, were not rendered for her benefit, and there is no allegation that she did not receive the benefit of her said estate in said manner, or that the charges for such services were not reasonable and proper;" and that "there is no allegation that her mother as guardian was financially able otherwise to furnish the said services, or that the plaintiff received her living expenses and support in any manner different from that stated in her mother's returns as her guardian, which were approved by said court." The guardian also demurred and objected to various paragraphs of the amendments on the ground that same did not show any fraud, and set forth only conclusions of the pleader, and because no copy of the returns and vouchers attacked therein were attached thereto. She also demurred to the amendments on the ground that no sufficient facts were alleged to show that the judgment of the ordinary approving the returns was void, and that in the absence of fraud, accident, or mistake, such judgment can not be set aside and is binding on petitioner.
On October 22, 1940, the court sustained such demurrers and objections on each ground thereof and disallowed both amendments. The case proceeded to trial on the same day, and the guardian introduced in evidence certified copies of the three annual returns above referred to. No evidence was introduced by the plaintiff. The court thereupon directed a verdict in favor of the returns of the guardian, and that plaintiff have her share of one seventh of the estate, which, as shown by the last return, amounted to $313.52, and a verdict so finding was rendered on October 22, 1940. The plaintiff on the same day moved for a new trial, and on October 30, 1940, the court overruled the motion and the plaintiff excepted. In the bill of exceptions the plaintiff also assigned error on the orders disallowing the two amendments offered by her, and on the order sustaining the demurrers and objections to the amendments. To the verdict and judgment the plaintiff excepted because of the errors previously made in disallowing her amendments.
On the judgment overruling her motion for new trial the plaintiff assigned error because of the errors that had previously been made in disallowing her amendments, those errors making all that happened thereafter nugatory, and because the legal effect of the disallowance of the amendments was to preclude her from introducing any evidence on the trial to prove any facts alleged in the *Page 582 
amendments, and because the judgment was contrary to law and the principles of equity and justice.
1. The defendant in error contends that the bill of exceptions should be dismissed on the ground that it contains no valid assignment of error, and that the rule as to assignments of error in a direct bill of exceptions applies in view of the fact that the verdict was demanded by the evidence and the only alleged errors insisted on are the disallowance of the plaintiff's amendments and the sustaining of the general demurrers thereto, and it does not appear in the bill of exceptions that the "verdict necessarily has been controlled by" such antecedent rulings. Code, § 6-804;McRae v. Boykin, 50 Ga. App. 866, 868 (179 S.E. 535). This contention is without merit. The judgment disallowing the amendments and sustaining the demurrers thereto was rendered October 22, 1940. The case proceeded to trial on the petition of the plaintiff for a settlement and accounting and the answer of the guardian thereto, in which answer the guardian set up the annual returns made by her as guardian as her response to the application for an accounting. The amendments in which the plaintiff attacked those returns having been disallowed the plaintiff offered no evidence, and the guardian introduced such returns in evidence, whereupon the court directed a verdict for the guardian based on such annual returns. The verdict and judgment were rendered on October 22, 1940. On the same day the plaintiff filed a motion for new trial, and on October 30, 1940, this motion was overruled. A bill of exceptions was sued out on November 16, 1940, certified by the court, and service thereof acknowledged that day. This bill of exceptions was filed in the office of the clerk on November 18, 1940. In the bill of exceptions the plaintiff assigned error on the orders disallowing the amendments and sustaining the defendant's demurrers and objections to their allowance "because the petitioner was entitled, as a matter of law, to plead and prove before the jury upon the trial of said case the facts alleged in said amendments for the purpose of rebutting and disproving the alleged expenditures and charges shown on said annual returns as charged against petitioner, and to show the incorrectness of these expenditures and charges as against her and *Page 583 
her estate, and because by the allowance of said amendments the legal effect was to preclude and prevent petitioner from introducing evidence in the trial of said case to prove any of the facts as alleged in said amendments." The plaintiff likewise assigned error on the verdict and judgment "because of the errors that had previously been made in the case in disallowing petitioner's amendments; those errors make all that happened thereafter nugatory; and because by the disallowance of her amendments the legal effect was to preclude and prevent her from introducing any evidence in the trial of said case to prove any of the facts as alleged in said amendments; and because said verdict and judgment were contrary to law and the principles of justice and equity." The plaintiff assigned error also on the order of the court overruling the motion for new trial "because of the errors that had previously been made in the case in disallowing petitioner's amendments, those errors making all that happened thereafter nugatory; and because by the disallowance of her amendments the legal effect was to preclude and prevent her from introducing any evidence on the trial of said case to prove any of the facts as alleged in said amendments; and because said judgment was contrary to law and the principles of equity and justice." The bill of exceptions was signed, certified, and filed within thirty days from the date of the order disallowing the amendments and sustaining the demurrers thereto, as well as within thirty days from the date of the verdict and judgment, and also within thirty days from the date of the order overruling the motion for new trial. No exceptions pendente lite were needed and none were filed. It is true that the plaintiff's case is predicated on the amendments and the subject-matter thereof, and that without such subject-matter the verdict in favor of the annual returns of the guardian was demanded under the evidence. Therefore the alleged error really complained of is the disallowance of the amendments. However, it is our opinion that in view of the foregoing facts the bill of exceptions is not subject to be dismissed because, as contended by the defendant in error, it is a direct bill of exceptions under Code, § 6-804, and it does not appear therein that the alleged antecedent error complained of necessarily controlled the final judgment. The motion to dismiss is denied.
2, 3, 4, 5. This is a case involving an application by a ward to the court of ordinary for citation to issue against her guardian, *Page 584 
who was the ward's mother, to appear and submit to a settlement of her accounts. The ward sought to amend such application, and these amendments were disallowed and the demurrers of the guardian thereto were sustained. In the petition and proffered amendments the returns of the guardian were attacked as not being true, as containing improper charges against the ward's estate, as being illegal and fraudulent, and as not being sufficient in that there were not attached thereto proper receipts and vouchers showing certain alleged expenditures. The ward attacked two of the annual returns on the ground that the original returns do not show any order of the ordinary approving them, in that there is no actual order of approval by the ordinary on the original returns, although the record of such returns appearing in the annual return book of the ordinary shows an order approving such returns and admitting them to record. It is alleged that there is not a true and correct record of the original returns for this reason, and that "such erroneous, so that no exemplified copy of such record may ever be used at any time anywhere." It is contended by the guardian that such returns are binding on the ward, and that the petition and offered amendments failed to set forth a cause of action or state wherein the returns were illegal, and failed to sufficiently specify the grounds of attack on such returns. In addition the guardian contends that the ward has not shown proper diligence in discovering or attempting to discover the facts on which she relies to annul the judgment of the court of ordinary in the matter, and is barred by her own laches and neglect and by the statute of limitations from attacking the returns and objecting to the items charged by the guardian therein to the estate of the ward. It is contended therefore that these returns, having been approved by the ordinary, are now binding on the ward.
The ward is not barred by the statute of limitations in seeking an accounting and settlement with her guardian, although the application or petition therefor was instituted approximately eight years and three months after the ward attained her majority. A ward, when arriving at majority, may apply to the ordinary for an order requiring her guardian to appear and submit to a settlement of her accounts. Code, § 49-301. For the purpose of settlement of accounts between the guardian and the ward the relationship of *Page 585 
guardian and ward does not terminate when the ward reaches majority. Morgan v. Woods, 69 Ga. 599. All actions against guardians, except on their bonds, shall be brought within ten years after the right of action accrues. Code, § 3-709. SeeHartley v. Head, 71 Ga. 95; Lane v. Lane, 87 Ga. 268
(13 S.E. 335). The provisions of the Code, § 49-312, are not applicable here. There had been no final settlement in this case, and therefore no attempt is here made to reopen a final settlement. The application here is for an accounting and settlement under the Code, § 49-301, and an attack is made on certain expenditures by the guardian and contained in the annual returns filed by her as charges against the ward's estate. Code § 3-709 rather than § 49-312 is applicable. Nor is the ward barred by neglect and laches. It is alleged in the second of the disallowed amendments that the ward "obtained her first knowledge that such returns were of file in the court of ordinary on or about June 15, 1940; that she had been told by the guardian and her attorney . . that no settlement could be made with her until her youngest brother and sister who were also wards of the guardian and who are not yet of age, became of age, and the petitioner was thereby induced to make no investigation and take no action seeking a settlement with the guardian." In the view we take of this case it is unnecessary to decide whether there has been a judgment of the ordinary approving the annual returns of the guardian. Even though such returns had been approved by a proper order it has been held that in an application for settlement the annual returns of a guardian, allowed by the ordinary, are only prima facie evidence of the correctness thereof, and that in an application for a settlement they may be attacked by the ward, the burden being on the ward to impeach them. Brown v. Wright, 5 Ga. 29; Rolfe v. Rolfe,15 Ga. 451 (3); Dillon v. Sills, 54 Ga. App. 299
(187 S.E. 725), and cit. The law is very jealous of the rights and interests of wards, and seeks rigidly to guard them. The judgment of the ordinary approving the returns was not a binding judgment, and did not conclude the ward from attacking the items and impeaching the verity thereof or from questioning the legality of the charges made against the corpus of her estate.
"Pleading which attacks the returns made by a guardian to the court of ordinary which has been examined and allowed by the court, should point out specifically the items of the returns on *Page 586 
which the attack is made, and as to each should disclose the cause or ground of the attack. It is not enough to allege that the return for such and such a year is unlawful as to a specific amount, without pointing out the items alleged to be unlawful, and without stating in what the unlawfulness consists." Bonner
v. Evans, 89 Ga. 656 (15 S.E. 906). The disallowed amendments in the case at bar point out specifically the items of the returns alleged by the ward to be unlawful and to have been improper charges against the ward's estate. The ward specifically attacks certain items of the returns, and points out specifically wherein the items attacked constituted improper charges against the estate. The ward also attacks certain items by specifically attacking certain purported vouchers or receipts attached thereto. The two disallowed amendments were not subject to demurrer on the ground that they failed to "state wherein the returns or the charges are illegal or unlawful."
The ward attacks the returns on the grounds that the money therein claimed to have been spent for maintenance and education was not in fact so spent; that such returns are not accompanied by valid vouchers showing the expenditure of such money for the maintenance and education of the ward; and because the purported vouchers accompanying such returns are not evidence to show such expenditures for the reason that they appear to be made as receipts to the guardian and signed by the guardian. It is alleged that the returns were not filed until many months after the alleged expenditures from the corpus of the estate for the maintenance and education of the ward, and that all vouchers for such expenditures were made by the guardian as receipts to herself "without any original account or record of such expenditures to authorize or support same." In Hendry v.Hurst, 22 Ga. 312, in which there was an attack on a guardian's returns made by caveat to the allowance and admission to record by the ordinary thereof, the Supreme Court held: "In all cases the guardian making his return should lay his account before the ordinary, plainly setting forth, with sufficient certainty, his charges against his ward. This account is the case he should prove. The vouchers are his evidence to support it. . . The vouchers . . are entitled to no weight as evidence, on the score that, . . the ordinary allowed them." In that case, which involved charges made by the guardian for clothing, schooling, *Page 587 
tuition, and boarding of the ward, the court said: "Guardians should keep accurate accounts and make regular returns, and in all cases where they do not, and are unable to prove the actual amount paid under the above rule, they ought to be restricted to the lowest amount the law would authorize them to charge. The guardian's own receipt to himself, furnishes not the slightest evidence of this. It is his own bare statement in his own behalf which is inadmissible. He ought to prove the furnishing, and a quantum meruit (if unable to prove the actual amount paid) and that the circumstances of the ward justified the charges." The ward was entitled to evidence as to the amount actually expended by the guardian for her support and education. The ward was entitled to full information on this subject. She was entitled to be shown the condition of the estate. Steadham v. Sims,68 Ga. 741. "It shall be the duty of . . guardians . . to keep their accounts in a regular manner, and to be always ready with them supported by proper vouchers." Code, § 4-211. And seeDowling v. Feeley, 72 Ga. 557, 567; Poullain v.Poullain, 76 Ga. 420 (5 a) 446. While ordinarily one attacking a return of a guardian has the burden to impeach its correctness (Peavy v. Clemons, 10 Ga. App. 507,73 S.E. 756), the burden of proof is on the guardian to show a compliance with this section. See Dodge v. Hatchett, 118 Ga. 883, 884
(45 S.E. 667). The approval of the returns by the ordinary made when the ward was an infant and unable to question the legality and accuracy of such returns and of the expenditures charged against her estate, is not intended to mean a final, conclusive judgment, but only a judgment de bene esse. Crawford v.Clark, 110 Ga. 729 (36 S.E. 404). Such purported vouchers or receipts are not alone sufficient to constitute conclusive evidence that such expenditures were made. Their approval by the ordinary being prima facie only, an attack by the ward, on discovering after reaching majority that such expenditures were not made and that there were not proper vouchers attached to the items of the returns including such expenditures, is not subject to dismissal on general demurrer. See Hudson v. Hawkins,79 Ga. 274 (4 S.E. 682); Dowling v. Feeley, supra; Code, § 49-230.
Primarily the duty to support, maintain, and educate the children rests on the father. Robison v. Robison, 29 Ga. App. 521
(116 S.E. 19); Starke v. Hamilton, 149 Ga. 227
(99 S.E. 861, *Page 588 
5 A.L.R. 1041); Code, § 74-105. But the father's duty to furnish support ceases on his death (Rice v. Andrews, 127 Misc. 826, 217 N. Y. Supp. 528), and thereafter the duty to support the children devolves upon the mother. Thompson v. Georgia Railroad c.Co., 163 Ga. 598 (136 S.E. 895). This, however, is subject to certain limitations that were not applicable in the case of the father. Parents are legally bound to provide for the support of their children during infancy though the children have estates of their own, unless the parents have no means or their estates are limited and the children have incomes ample for their support. First National Bank v. Greene (Ky.), 114 S.W. 322; Wing v.
Hibbert, 8 Oh. S.  C. P. 65, 7 Oh. N. P. 124; Hamilton v.
Riney, 140 Ky. 476 (131 S.W. 287). It has been held that where the mother, having the custody and control of her minor children after the father's death, has abundant means to provide for them, she can not resort to their estate for their maintenance and support. And this rule has been held especially applicable where reimbursement is sought for past support. Welch v. Burris,29 Iowa, 186. However, where the circumstances of a parent are such that the parent is not financially able properly to support and educate the children an allowance for that purpose may be made from the children's estate; but in the application of this rule the courts state that regard should be had to the circumstances of the particular case, and such allowance to the parent may, in a proper case, be made either as a provision for the future or as a reimbursement for past expenditures. Fuller v. Fuller,23 Fla. 236 (2 So. 426); Com. v. Lee, 120 Ky. 433 (86 S.W. 990, 89 S.W. 731, 27 Ky. L. 806, 28 Ky. L. 596). It has been held that since there is imposed on parents the natural duty to support and maintain their children, they may not, as guardians for them, be allowed anything out of the children's separate estates for such purposes, unless the parent is in such needy financial circumstances that he is unable to properly furnish such support and maintenance. See Watson v. Watson, 183 Ky. 516
(209 S.W. 524, 3 A.L.R. 1575). In Ellis v. Soper,111 Iowa, 631 (82 N.W. 1041), it was held that a widow who is guardian for her children is primarily liable for their support. In Welch v.
Burris, 29 Iowa, 186, it was held that an order of allowance to the mother for past support will be made only under special circumstances which must appear in the application therefor. *Page 589 
Therefore the law is that parents are legally bound to provide for the support and education of their children during infancy, and that where a mother on the death of the father has the support and custody of minor children, and is appointed their guardian, she is charged with the duty to provide the necessaries of life for the children. The mother, as guardian, would be entitled to reimbursement for expenditures made by her for such support and maintenance, or to pay directly therefor out of a separate estate inherited by such children, only where it appeared that the mother was in such financial circumstances that she was unable to provide such support and maintenance and that the children's separate estate was abundantly sufficient for that purpose and that she so applied it.
The ward in this case charges that she lived at home with her mother; that there was no actual charge made against her for the items represented in the returns; that there were no actual expenditures made out of her estate therefor; that there were no such amounts spent by the guardian for her benefit; and that the items in such returns were made up to conceal the fact that the money therein represented had been lost or wasted in "some other manner unknown to" the ward.
Brown v. McWilliams, 29 Ga. 194, is clearly distinguishable from the case at bar. The court in that case did not, as contended by the guardian, approve as a correct statement of the law the charge of the trial judge that "when a father is guardian of his infant children who have a separate estate or property, the law will allow him to appropriate the income of such estate, or so much as may be necessary to the support and education of the children, notwithstanding he may be able to support and educate them out of his own property." The Brown
case involved a bill in equity to reopen a settlement by a father, as guardian of his two daughters, made with their husbands. It appeared that the father was of limited means. The bill was filed seven or eight years after settlement with one daughter and seventeen years after settlement with the other, and the court held that "under all the facts of the case" a court of equity would not disturb the verdict of the jury which was in favor of the father. The court, in rendering the decision, stated in the opinion that it appeared that the court of ordinary, acting with full knowledge of the father's circumstances, passed an order authorizing him to retain the interest from the legacy received by *Page 590 
the children from their grandfather "to aid him in the support and maintenance of his wards," and "that order stands unreversed." The court then held that the complainants "with a full knowledge of the facts [on the part of one, if not both of them] settled with their father," one seventeen years and the other seven or eight years before the filing of the bill in equity, and that "being satisfied that the arrangement made between the court of ordinary and the guardian was a reasonable one, we are unwilling to interfere with it, especially after such a lapse of time." The court, speaking through Judge Lumpkin, said: "It was bad enough for these sons-in-law to rob the father of his daughters against his consent. It would be still worse to allow them to harass his old age, under the circumstances of this case, at this distant day." In the Brown case the Supreme Court was dealing with a petition to reopen a final settlement made by the guardian with his wards. In the case at bar the ward is seeking an accounting and final settlement with her mother as guardian and is attacking certain expenditures charged to the estate in her annual returns. The law as to the two proceedings is not the same. As we have seen, entirely different Code sections apply. As to a petition to reopen a final settlement the provisions of Code, § 49-312, that "No final settlement made between guardian and ward shall bar the ward, at any time within four years thereafter, from calling the guardian to a settlement of his accounts, unless it shall be made to appear that the same was made after a full exhibit of all the guardian's accounts and with a full knowledge by the ward of his legal rights," control, while the case at bar is brought under Code, § 49-301.
Applying the above principles the court erred in disallowing the amendments offered by the ward and in sustaining the demurrers thereto. This rendered nugatory all subsequent proceedings.
Judgment reversed. Sutton and Felton, JJ., concur.